 Case 5:19-cv-02456-FMO-SP Document 144 Filed 06/24/22 Page 1 of 2 Page ID #:2967



1
                                                                                    JS-6
2

3

4

5

6

7

8                                     UNITED STATES DISTRICT COURT

9                                CENTRAL DISTRICT OF CALIFORNIA

10

11   JAMAL JOHNSON, individually and on         )   Case No. ED CV 19-2456 FMO (SPx)
     behalf of all others similarly situated,   )
12                                              )
                         Plaintiff,             )
13                                              )   JUDGMENT
                  v.                            )
14                                              )
     MOSS BROS. AUTO GROUP, INC., et            )
15   al.,                                       )
                                                )
16                       Defendant.             )
                                                )
17

18         Pursuant to the Court’s Order Re: Final Approval of Class Action Settlement (“Order”), filed

19   contemporaneously with the filing of this Judgment, IT IS ADJUDGED THAT:

20         1. Plaintiff Jamal Johnson shall be paid a service payment of $5,000.00 in accordance with

21   the terms of the Settlement Agreement and the Order.

22         2. Class counsel shall be paid $625,700.00 in attorney’s fees, and $12,588.03 in costs in

23   accordance with the terms of the Settlement Agreement and the Order.

24         3. The Claims Administrator, Epiq, shall be paid for its fees and expenses in accordance

25   with the terms of the Settlement Agreement and the Order.

26         4. All class members who did not validly and timely request exclusion from the settlement

27   have released their claims, as set forth in the Settlement Agreement, against any of the released

28   parties (as defined in the Settlement Agreement).
 Case 5:19-cv-02456-FMO-SP Document 144 Filed 06/24/22 Page 2 of 2 Page ID #:2968



1           5. Except as to any class members who have validly and timely requested exclusion, this

2    action is dismissed with prejudice, with all parties to bear their own fees and costs except as set

3    forth herein and in the prior orders of the court.

4    Dated this 24th day of June, 2022.

5

6                                                                        /s/
                                                                  Fernando M. Olguin
7                                                              United States District Judge

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                          2
